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DICKSON HUNG



                     IN THE UNITED STATES DISTRICT COURT

             IN AND FOR THE EASTERN DISTRICT OF CALIFORNIA


UNITED STATES OF AMERICA,                       )   Case No.: 2:09-CR-00438-WBS
                                                )
                      Plaintiff,                )   STIPULATION AND [PROPOSED]
                                                )   ORDER TO CONTINUE STATUS
       vs.                                      )   CONFERENCE , AND TO EXCLUDE
                                                )   TIME PURSUANT TO THE SPEEDY
DICKSON HUNG,                                   )   TRIAL ACT
                                                )
                      Defendant.                )
                                                )


       IT IS HEREBY STIPULATED by and between the parties hereto through their
respective counsel, Heiko Coppola, Assistant United States Attorney, attorney for plaintiff, and
Michael E. Hansen, attorney for defendant Dickson Hung, that the previously-scheduled status
conference date of December 17, 2018, be vacated and the matter set for status conference on
February 19, 2019, at 9:00 a.m.
       This continuance is requested because defense counsel continues to review discovery
received in this case, and needs additional time to do so. Discovery provided to date exceeds
43,000 pages of written discovery.
       The Government concurs with this request.
       Further, the parties agree and stipulate the ends of justice served by the granting of such
a continuance outweigh the best interests of the public and the defendants in a speedy trial and
that time within which the trial of this case must be commenced under the Speedy Trial Act
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should therefore be excluded under 18 U.S.C. section 3161(h)(7)(B)(iv), corresponding to
Local Code T4 (to allow defense counsel time to prepare), from the date of the parties’
stipulation, December 6, 2018, to and including February 19, 2019.
        Accordingly, the parties respectfully request the Court adopt this proposed stipulation.
        IT IS SO STIPULATED.

Dated: December 6, 2018                              Respectfully submitted,
                                                     /s/ Michael E. Hansen
                                                     MICHAEL E. HANSEN
                                                     Attorney for Defendant
                                                     DICKSON HUNG
Dated: December 6, 2018                              McGREGOR SCOTT
                                                     United States Attorney
                                                     By: /s/ Michael E. Hansen for
                                                     HEIKO COPPOLA
                                                     Assistant U.S. Attorney
                                                     Attorney for Plaintiff

                                            ORDER
                The Court, having received, read, and considered the stipulation of the parties,
and good cause appearing therefrom, adopts the stipulation of the parties in its entirety as its
order. Based on the stipulation of the parties and the recitation of facts contained therein, the
Court finds that it is unreasonable to expect adequate preparation for pretrial proceedings and
trial itself within the time limits established in 18 U.S.C. section 3161. In addition, the Court
specifically finds that the failure to grant a continuance in this case would deny defense
counsel to this stipulation reasonable time necessary for effective preparation, taking into
account the exercise of due diligence. The Court finds that the ends of justice to be served by
granting the requested continuance outweigh the best interests of the public and the defendants
in a speedy trial.
                The Court orders that the time from the date of the parties’ stipulation,
December 6, 2018, to and including February 19, 2019, shall be excluded from computation of
time within which the trial of this case must be commenced under the Speedy Trial Act,
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pursuant to 18 U.S.C. section 3161(h)(7)(B)(iv), and Local Code T4 (reasonable time for
defense counsel to prepare). It is further ordered that the December 17, 2018, status conference
shall be continued until February 19, 2019, at 9:00 a.m.
       IT IS SO ORDERED.


Dated: December 7, 2018
